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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO

 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                CRIMINAL 08-0242CCC
 1) GILBERTO RODRIGUEZ
 2) ANGEL MENDEZ
 3) SUGEYL RODRIGUEZ
 4) BARBARA RAMOS
 5) YAMILET FAJARDO
 6) MARYLIN PINEDA
 7) MILDRED BAEZ
 8) PEDRO PEREZ
 9) CARMEN SEIN
 10) RICHARD PIETRI
 11) EUSEBIO MERCEDES
 12) GERALDO CASTRO
 13) GILBERTO MODESTO
 14) ONNIS ACOSTA
 15) MARILIZ SUAREZ
 16) FRANCISCO FONTANEZ
 17) SAMUEL ESCOBAR
 18) MARTIN PERNAS
 19) ANIBAL ROSSELLO
 20) SONYA CASTELLANOS
 21) MAXIMILIEN ESPINAL
 22) MIGUEL DE AZA
 23) HARRY REYES
 24) LOUIS CRUZ
 25) JULIO MARIN
 26) GLORIA CASTRO
 27) CESAR BERROA
 28) RAYSA PACHECO
 29) JULIO CASTRO
 30) ELBA TORRES
 31) GLENDA DAVILA
 32) RAYMOND RODRIGUEZ
 33) JOEL CASTILLO
 34) YOLANDA RODRIGUEZ
 Defendants


                                          ORDER

       Having considered the Report and Recommendation filed on October 12, 2011
(docket      entry   1425)   on    a   Rule   11   proceeding   of   defendant     Raymond
Rodríguez-Navarro (32) held before U.S. Magistrate Judge Marcos E. López on October 5,
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2011, to which no opposition has been filed, the same is APPROVED. Accordingly, the plea
of guilty of defendant Raymond Rodríguez-Navarro (32) is accepted. The Court FINDS that
his plea was voluntary and intelligently entered with awareness of his rights and the
consequences of pleading guilty and contains all elements of the offense charged in the
indictment.
      This case was referred to the U.S. Probation Office for preparation of a Presentence
Investigation Report since October 5, 2011. The sentencing hearing of defendant
Raymond Rodríguez-Navarro (32) is set for February 1, 2012 at 4:15 PM.
      SO ORDERED.
      At San Juan, Puerto Rico, on November 23, 2011.



                                        S/CARMEN CONSUELO CEREZO
                                        United States District Judge
